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                                 COURTROOM MINUTE SHEET

CIVIL NO. CIV-19-01145–JD                                                     DATE September 24, 2021

Misty White, et al.                                  -v- Paul Hesse, et al.

COMMENCED 1:00 p.m.                  ENDED 1:50 p.m.                  TOTAL TIME 50 mins.

PROCEEDINGS Telephonic Hearing on Defendant Canadian County District Court, 26th Judicial
District’s Motion to Dismiss and Defendant State Judges’ Motion to Dismiss (“Motions”) [Doc. Nos. 35,
36].

JUDGE JODI W. DISHMAN              DEPUTY NYSSA VASQUEZ               REPORTER CASSY KERR

PLFS.’ COUNSEL Trisha Trigilio, Esq., Brandon Jerel Buskey, Esq., J. Blake Johnson, Esq., Marta P.
Cook, Esq., Megan E. Lambert, Esq., and Zoe Brennan-Krohn, Esq.

DFTS.’ COUNSEL Erin M. Moore, Esq., Devan A. Pederson, Esq., and Stefanie E. Lawson, Esq.

Motions hearing held. Counsel for the parties present as noted above. For all the reasons stated on the
record, the Court makes the following rulings:

   1. The Motions to Dismiss [Doc. Nos. 35, 36] are DENIED without prejudice to file another
      Motion to Dismiss (if necessary) after the filing of the amended complaint as detailed below and
      on the record.

   2. Counsel for the parties are ORDERED to confer in good faith within 14 days of today
      regarding the claims in this lawsuit and all arguments asserted in the Motions and associated
      briefs as detailed on the record.

   3. Within 30 days from today, Plaintiffs’ counsel shall circulate a proposed amended complaint
      to Defendants’ counsel.

   4. Within 45 days from today, counsel for all parties shall confer again regarding the proposed
      amended complaint in an attempt to resolve any remaining disputes without Court involvement.

   5. Within 60 days from today, Plaintiffs shall file an amended complaint and the Court GRANTS
      leave to do so under Fed. R. Civ. P. 15(a)(2).

   6. Within 60 days from today, Plaintiffs shall file a joint status report updating the Court on the
      status of the issues raised today and in the Motions, to include the following:
          a. The dates of the conferences;
          b. Length of the conferences;
          c. Participants of the conferences;
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          d. Identification of all issues that were resolved at the conferences; and
          e. Identification of the issues that remain, if any.

   7. Within 14 days of service of the amended complaint, Defendants shall respond to any
      amended complaint under Fed. R. Civ. P. 15(a)(3).

Following discussion on the record and upon agreement of the parties, the Motion for Class
Certification [Doc. No. 5] is ADMINISTRATIVELY STAYED until further notice.

All rulings made on the record, no written order to follow.

   Authorities cited by Court or that the Court mentioned would include in minute sheet

   Cases:
   1. Agrawal v. Cts. of Okla., No. CIV-18-396-D, 2018 WL 3354881 (W.D. Okla. July 9, 2018)
   2. Armbrester v. Alameda Cty., No. 17-CV-05231-LB, 2018 WL 5780044 (N.D. Cal. Nov. 1,
       2018)
   3. Ashcroft v. Iqbal, 556 U.S. 662 (2009)
   4. Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007)
   5. Evangelical Lutheran Good Samaritan Soc’y, Inc. v. Randol, No. 16-CV-2665-DDC-GEB, 2017
       WL 3085778 (D. Kan. July 20, 2017)
   6. Ewing v. Doubletree DTWC, LLC, 673 F. App’x 808 (10th Cir. 2016) (unpublished)
   7. Harper v. Woodward Cnty. Dist. Ct., No. CIV-10-849-HE, 2010 WL 6649767 (W.D. Okla. Oct.
       12, 2010)
   8. Hart v. Salois, 605 F. App’x 694 (10th Cir. 2015) (unpublished)
   9. Hines v. Oklahoma, No. CIV-07-197-R, 2007 WL 3046458 (W.D. Okla. Oct. 17, 2007)
   10. Hinton v. Dennis, 362 F. App’x 904 (10th Cir. 2010) (unpublished)
   11. JL v. New Mexico Dep’t of Health, 165 F. Supp. 3d 1048 (D.N.M. 2016)
   12. Juarez v. Heyne, No. 1:09-CV-00542-DLB PC, 2010 WL 3502535, at *1–2 (E.D. Cal. Sept. 2,
       2010)
   13. Martinez v. Winner, 771 F.2d 424 (10th Cir. 1985)
   14. Mason v. Twenty-Sixth Jud. Dist. of Kan., Court Services Div., 670 F. Supp. 1528 (D. Kan.
       1987)
   15. Mayfield v. Garcia, No. CV 16-0805 JB/JHR, 2018 WL 1135642 (D.N.M. Feb. 28, 2018)
   16. Robbins v. Oklahoma, 519 F.3d 1242 (10th Cir. 2008)
   17. Robertson v. Las Animas Cnty. Sheriff’s Dep’t, 500 F.3d 1185 (10th Cir. 2007)
   18. Salazar v. San Juan Cty. Det. Ctr., No. CIV 15-0417 JB/LF, 2016 WL 5376320 (D.N.M. Sept.
       20, 2016)
   19. Smith v. Midland Brake, Inc., 180 F.3d 1154 (10th Cir. 1999)
   20. Smith v. Drawbridge, No. CIV-16-1135-HE, 2017 WL 4776758 (W.D. Okla. Oct. 23, 2017)
   21. Strassell v. Norris, No. 17-CV-02297-CMA-MJW, 2018 WL 2938323, at *2 (D. Colo. June 12,
       2018)

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22. Tatten v. City & Cnty. of Denver, No. 16-CV-01603-RBJ-NYW, 2017 WL 5172244 (D. Colo.
    Feb. 3, 2017), report and recommendation adopted, No. 16-CV-01603-RBJ-NYW, 2017 WL
    1435854 (D. Colo. Mar. 29, 2017), aff’d, 730 F. App’x 620 (10th Cir. 2018) (unpublished)
23. Trujillo v. Rio Arriba Cnty. ex rel. Rio Arriba Cnty. Sheriff’s Dep’t, 319 F.R.D. 571 (D.N.M.
    2016)
24. Villa v. D.O.C. Dep’t of Corr., 664 F. App’x 731 (10th Cir. 2016) (unpublished)

Statute & Rules:
1. Federal Rule of Civil Procedure 1
2. Federal Rule of Civil Procedure 8
3. Federal Rule of Civil Procedure 11
4. Federal Rule of Civil Procedure 12(b)(6)
5. Federal Rule of Civil Procedure 12(f)
6. Federal Rule of Civil Procedure 15
7. Federal Rule of Civil Procedure 17(b)
8. Federal Rule of Civil Procedure 23




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